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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    Criminal No. 21-cr-00670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

                      DEFENDANT’S MOTION TO FILE SUR-REPLY

       Defendant Stephen K. Bannon, by and through his undersigned counsel, respectfully

moves this Court for leave to file a concise sur-reply to the Government’s Reply (Doc. 12) to the

Defendant’s Opposition (Doc. 11) to the Government’s Motion For Protective Order And To

Disclose Grand Jury Testimony (Doc. 9). In support of this motion, we state as follows:

       1.      On November 18, 2021, the Court set a deadline of November 24, 2021, for the

Defendant to file an opposition to the Government’s Motion For Protective Order And To

Disclose Grand Jury Testimony.

       2.      On November 24, 2021, the Defendant filed its opposition.

       3.      On November 28, 2921, the Government filed a Reply To Defendant’s

Opposition To Motion For Protective Order. The Government’s initial motion did not contain

legal authority in support of its position. In its Reply, for the first time, the Government cites

legal authority that it claims supports its position. It does not, and the Defendant must be

permitted an opportunity to address it. Similarly, for the first time in its Reply, the Government

makes factual assertions found nowhere in its initial motion. These factual assertions are
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misleading and do not accurately reflect the record. Mr. Bannon must be given an opportunity to

address them as well.

       4.      While sur-replies are generally disfavored, Kifafi v. Hilton Hotels Ret. Plan, 736

F. Supp. 2d 64, 69, (D.D.C. 2010), “the decision to grant or deny leave to file a surreply is

committed to the sound discretion of the Court.” Sargent v. Pompeo, 2020 U.S. Dist. LEXIS

166910, *34; 2020 WL 5505361 (D.D.C. Sept. 11, 2020) (granting leave to file sur-reply); see

also Lu v. Lezell, 45 F. Supp. 3d 86, 91 (D.D.C. 2014).

       5.      When a moving party makes an argument for the first time in a reply, the court’s

“proper response” is to “either ignore those arguments in resolving the motion or provide the

non-movant an opportunity to respond to those arguments by granting leave to file a sur-reply.”

Patel v. Bureau of Prisons, 2011 U.S. Dist. LEXIS 164647, *2 (D.D.C., Nov. 28, 2011) (citing

Baloch v. Norton, 517 F. Supp. 2d 345, 349 (D.D.C. 2007)).

       6.      We respectfully suggest that the proper course here – where the Government has

made new factual assertions and raised new legal arguments in its Reply, many of which could

have been raised, but were not, in its initial motion – is to allow a sur-reply. See DiBacco v.

United States Dep’t of the Army, 983 F. Supp. 44, 54 (D.D.C. 2013) (granting leave to file sur-

reply where “most if not all” of the arguments made by the moving party in its reply “could have

and should have been raised in their initial motion” and rejecting the moving party’s request for

leave to file a further reply to the sur-reply). In fact, the Government’s Reply includes as an

attachment a proposed protective order that is different from the one proposed in its initial

motion (Doc. 12-1). This also justifies a sur-reply.

       WHEREFORE, for the foregoing reasons, Defendant Stephen K. Bannon respectfully

requests that this Court GRANT the instant Motion To File Sur-Reply.



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Dated: November 29, 2021                  Respectfully submitted,

                                          SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

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                                          Counsel for Defendant Stephen K. Bannon



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 30th day of November 2021, a copy of the foregoing

Motion To File Sur-Reply was served via the Court’s CM/ECF system on all properly registered

parties and counsel.


                                             /s/ M. Evan Corcoran
                                          M. Evan Corcoran (D.C. Bar No. 440027)




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